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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                                                  Chapter 11
In re:
                                                                  Case No.: 19-11466 (KG)
CENTER CITY HEALTHCARE, LLC d/b/a
HAHNEMANN UNIVERSITY HOSPITAL,                                    (Jointly Administered)
et al.,1
                                                                  Re: D.I. 1170
                                     Debtors.

CERTIFICATE OF NO OBJECTION REGARDING THE FOURTH MONTHLY
FEE APPLICATION OF FOX ROTHSCHILD LLP FOR SERVICES RENDERED
 AND REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE OFFICIAL
     COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD
          NOVEMBER 1, 2019 THROUGH NOVEMBER 30, 2019

         The undersigned hereby certifies that, as of the date hereof, he has received no

answer, objection or other responsive pleading to the Fourth Monthly Fee Application of

Fox Rothschild LLP (“Fox”) for Services Rendered and Reimbursement of Expenses as

Counsel to the Official Committee of Unsecured Creditors for the Period November 1,

2019 through November 30, 2019 (the “Application”) [D.I. 1170], filed on December 16,

2019. The undersigned further certifies that he has reviewed the Court’s docket in this case

and no answer, objection or other responsive pleading to the Application appears thereon.

Objections to the Application were required to be filed and served no later than January 6,

2020, at 4:00 p.m. ET.




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 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is 230 North Broad
Street, Philadelphia, Pennsylvania 19102.
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       Pursuant to this Court’s Order Establishing Procedures for Interim Compensation

and Reimbursement of Expenses of Professionals, entered on August 2, 2019 (the “Interim

Compensation Order”) [D.I. 341], the Debtors are authorized and directed to pay Fox

$12,991.95 (the sum of $11,927.60, which represents 80% of the fees for the period of

November 1, 2019 through November 30, 2019, and $1,064.35, which represents 100% of

the expenses requested in the Application for the same period) upon the filing of this

certification and without the need of a court order.

  Dated: January 7, 2020              Respectfully submitted,

                                      /s/ Thomas M. Horan
                                      Thomas M. Horan (DE No. 4641)
                                      FOX ROTHSCHILD LLP
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                                      Wilmington, DE 19899-2323
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                                      -and-

                                      Andrew H. Sherman (admitted pro hac vice)
                                      Boris I. Mankovetskiy (admitted pro hac vice)
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                                      Counsel to the Official Committee of Unsecured
                                      Creditors




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